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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
JENNIFER D. ARAOZ,                                                           ORDER
                                                                             22-CV-00125 (AMD)
                                   Plaintiff(s),
               -against-

 THE NEW ALBANY COMPANY, et al.,

                                    Defendant(s).
-------------------------------------------------------------------------X

         An initial conference by telephone has been scheduled for February 16, 2022 at

12:00 p.m., before the Honorable Robert M. Levy, United States Magistrate Judge at (888) 684-

8852; Access Code #: 6223489. All counsel must be available. Plaintiff’s counsel is directed

to confirm with defendants’ counsel that all necessary participants are aware of this

conference.       In the event an answer has not yet been filed, plaintiff’s counsel is to notify

defendants’ counsel of this conference as soon as an answer is filed. If an answer is not filed in

advance of the conference date, plaintiff’s counsel is to notify the court, in writing, to arrive two

days before the scheduled conference. No adjournment requests will be considered unless filed

by ECF at least forty-eight (48) hours before the scheduled conference.

         THE PARTIES ARE REMINDED OF THE REQUIREMENTS OF THE

AMENDMENTS TO RULE 26 Fed. R. Civ. P. IT IS EXPECTED THAT: 1) THE

MEETING REQUIRED BY THIS RULE WILL BE HELD AT LEAST 14 DAYS

BEFORE THE CONFERENCE, 2) THE MANDATORY DISCLOSURE REQUIRED BY

THE RULE WILL BE MADE BEFORE THE CONFERENCE, AND 3) THE WRITTEN

REPORT CALLED FOR BY THE RULE WILL BE PREPARED AND AVAILABLE TO

THE COURT BY THE TIME OF THE CONFERENCE.
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       The parties are advised that all parties in civil actions in this district, except those

appearing pro se, are now required to participate in Electronic Case Filing (ECF). ECF enables

both the court and litigants to file all case documents electronically, including pleadings,

motions, correspondence and orders. ECF is designed to be a user-friendly system which is

easily understood. A user's manual is available through the Clerk's Office, or at our website at

http://www.nyed.uscourts.gov. If needed, free training can be arranged for attorneys and their

staff by contacting the Clerk's Office at (718) 613-2312. All counsel of record will receive

notice by e-mail every time a document is filed in this case via ECF. For more information,

please consult my individual rules, which are attached and are posted on the EDNY website. All

counsel of record who have not yet registered for ECF must do so within two weeks. If there are

other attorneys in the firm who will also be working on this case, such attorneys should promptly

file a notice of appearance and register for ECF. In exceptional circumstances, a party may be

exempted from the ECF requirements, but only upon a written application to my chambers

explaining in detail the serious hardships that compliance with ECF would entail.

               Parties appearing pro se are not subject to the rules regarding Electronic

Case Filing (ECF) and are therefore directed to file all correspondence and other

submissions by first class mail, with a copy to defendant’s counsel.

       SO ORDERED.

DATED: Brooklyn, NY
       January 14, 2022
                                                                      /s/
                                                             ROBERT M. LEVY
                                                             United States Magistrate Judge
